Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 1 of 34




                   EXHIBIT 7
        Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 2 of 34




CASE NAME / NO: 1000283530                 CASE AGENT: S/A Trista Merz, IRS-CI

AUDIO RECORDING:      180215_0133.MP3      AUDIO MINUTE DURATION: 00:27:42

DATE:   02 / 15 / 2018 _

START TIME OF SESSION:     00 : 00 : UNK

END TIME OF SESSION:       00 : 00 : UNK


SUBJECT INFO:       CARLOS KEPKE
                    713-626-0612
11


DEVICE LOCATION:      RECORDING DEVICE WITH SPECIAL AGENT                 _

MATTER TYPE: CONCEALED RECORDING DEVICE (WMA FILE)                        _

MONITOR:      N/A                                                         _



SPEAKERS:


SPECIAL AGENT #6134, IRS-CI                                       _

EVATT TAMINE




TRANSCRIBER: P & P Language Svcs.          Date: March 01, 2018

TRANSCRIPT EDIT 1: P & P Language Svcs.    Date: March 03, 2018

TRANSCRIPT EDIT 2: P & P Language Svcs.    Date: March 12, 2018

AGENT REVIEW: ____________________         Date: ______________________

P&P FINAL REVIEW: _________________        Date: ______________________
                 Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 3 of 34

     DRAFT TRANSCRIPT


 1   (AUDIO RECORDING 180215_0133 – 27:42 MINUTES DURATION)

 2   (ELECTRONIC CHIMING SOUND)

 3   U/C AGENT #6134:                        February fifteenth (15th), two-thousand-eighteen (2018)…

 4   //(CELL PHONE RINGS)

 5   U/C AGENT #6134:                        //…time’s approximately (UNINTELLIGIBLE)-ten, p.m…four-

 6                                           four-one, two-hundred, five-zero-ninety-five (441-200-5095).

 7                                           Hello?

 8   EVATT TAMINE:                           Hello? Uhm...hi there, it’s Evatt Tamine…calling you back.

 9   U/C AGENT #6134:                        Hey, how are you doing, Evatt? (VOICE ECHOS)

10   EVATT TAMINE:                           Good, good, how are you today?

11   U/C AGENT #6134:                        I’m doin’ excellent. Doin’ excellent, so, how is the weather in

12                                           beautiful Bermuda?

13   EVATT TAMINE:                           Uhm...you know what I’m lookin’ at, I-I haven’t been out of the

14                                           office for quite some time and I’m seein’ grey, Uhm...a little bit

15                                           chilly…

16   U/C AGENT #6134:                        //Hmm…

17   EVATT TAMINE:                           //…and it looks like it’s gonna rain. But you know what? It could

18                                           be worse.

19   U/C AGENT #6134:                        //(LAUGHS)

20   EVATT TAMINE:                           //It could be worse, but, where-where are you located?

21   U/C AGENT #6134:                        I’m in Pennsylvania. Have you ever been there?

22   EVATT TAMINE:                           Oh, yeah, I have. It could be, like I say, it could be a lot worse.

                                                                     2
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                 Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 4 of 34

     DRAFT TRANSCRIPT


 1   U/C AGENT #6134:                        Yes, see? You could be here.

 2   EVATT TAMINE:                           //(UNINTELLIGIBLE / CHUCKLES)…

 3   U/C AGENT #6134:                        //Well, that’s interesting you’ve been to Pennsylvania. What

 4                                           brought you here?

 5   EVATT TAMINE:                           Oh, I’ve been to Philadelphia…

 6   U/C AGENT #6134:                        //Uh-huh?

 7   EVATT TAMINE:                           //…and I’ve been-...I think I’ve done a bit of the countryside and,

 8                                           uh-uh, I mean, years ago I went to a Bruce Springsteen concert in

 9                                           //Philadelphia.

10   U/C AGENT #6134:                        //Oh, lovely. That’s great, wow...huh, who woulda thought? Now

11                                           where are you, if you don’t mind me asking-...er, your accent –

12                                           where are you originally from?

13   EVATT TAMINE:                           A-A-Australia.

14   U/C AGENT #6134:                        Ah, so on my bucket list. I mean, (INHALES SHARPLY) I think-

15                                           I think many Americans it’s on their bucket list to go to Austra-…

16   EVATT TAMINE:                           Oh, yeah, yes, it’s, uh, it’s, uhm…it’s-it’s on mine as well. I-I- uh-

17                                           I don’t get back often enough…

18   U/C AGENT #6134:                        //Yeah.

19   EVATT TAMINE:                           //I feel I could, on a regular basis, I add it back to the list.

20   U/C AGENT #6134:                        //I’m s-…




                                                                     3
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                 Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 5 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           //Uhm...yeah, so-so, how can I help? You-you, Uhm...Carlos,

 2                                           uh...called me some, uh...a couple of weeks ago and-and,

 3                                           uh...what-...how can I help?

 4   U/C AGENT #6134:                        Sure, well, I appreciate you takin’ the time. I, Uhm...I talked with

 5                                           him, and I’m lookin’ at hopefully using his trust services and,

 6                                           Uhm... I’ll just-...I’ll tell you real quickly, I know nothing about

 7                                           this stuff. This is about as foreign to me as you can get, so I

 8                                           apologize if I ask you really dumb questions. Uhm…

 9   EVATT TAMINE:                           //Okay.

10   U/C AGENT #6134:                        //…‘cause it’s-it’s-it’s just so above my head. So, Uhm...so, you

11                                           know, he said-...I had asked him, you know, we-we talked, uh...had

12                                           a great meeting in Houston last week and he mentioned your name

13                                           as someone to, uh...to give a call that you’ve-...he’s done business

14                                           with you for a long time and, Uhm...yeah, could just give me

15                                           maybe a little bit more background on it and-and that type of thing,

16                                           so, uhm...I thought that’d be, you know, wonderful. So if you don’t

17                                           mind me, just givin’…

18   EVATT TAMINE:                           //Yeah.

19   U/C AGENT #6134:                        //…kind of, like, a //thumbnail sketch of who you are and go from

20                                           there.

21   EVATT TAMINE:                           //Yeah, yeah, that’s a problem. I’ll-I’ll-I’ll-I’ll help you in

22                                           whichever c-way-...in whichever way I can. //(LAUGHS)

                                                                     4
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                 Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 6 of 34

     DRAFT TRANSCRIPT


 1   U/C AGENT #6134:                        //That’d be great.

 2   EVATT TAMINE:                           Uh, but yeah, absolute-...yeah, absolutely.

 3   U/C AGENT #6134:                        Okay, so if you don’t mind just for-...eh-...all he told me about you

 4                                           was that, you know, you’re-you’re a colleague and a friend and

 5                                           somebody that he trusts very implicitly and, you know, to give you

 6                                           a buzz and so, if you don’t mind, just tell me real briefly about

 7                                           yourself, what you do and then…//kinda helps me understand.

 8   EVATT TAMINE:                           //Uhm...no problem. I-I run, uh, in-in short, I run a, Uhm...a-a trust,

 9                                           Uhm...based here in Bermuda and I’ve been running it, uhm...on-

10                                           on my own, pretty much, as the sole director for, uh...seven (7) or

11                                           eight (8) years. Before that, uhm...I was working for the man who

12                                           was running this who passed away in two-thousand and ten (2010).

13   U/C AGENT #6134:                        Hmm…

14   EVATT TAMINE:                           Uhm...and my background is as a lawyer. Uhm...a-and, I’ve, uh-

15                                           uh, you know, I’ve known the guy who’s runnin’ the trust for, uh...

16                                           yeah, he’s been doin’ it since, uh...for five (5) years, but before that

17                                           I’ve-I’ve met him in two-thousand-...uh, sorry, nineteen-ninety-

18                                           seven (1997), or thereabouts. And, Uhm...yeah, that’s pretty much

19                                           it just in the background as a lawyer.

20   U/C AGENT #6134:                        Okay, alright, that’s very interest-...so, how did you meet Carlos

21                                           then?



                                                                     5
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                 Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 7 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           I-...well, through the-..see, he’s-...uh-the-the guy that I took over

 2                                           from, uhm...Gordon Howard had been doin’ business with him

 3                                           more and had him, uhm...doing legal advice for years before that.

 4                                           To tell the truth, I haven’t done that much with Carlos. //Uhm…

 5   U/C AGENT #6134:                        //Okay.

 6   EVATT TAMINE:                           Uhm...most everything was done and finished before I even

 7                                           became involved and, uhm...from time to time Carlos, uhm...is-is

 8                                           there and has given a little bit advice, but not a great deal of it. I’ve

 9                                           gotta be honest with you – not-not-not a great deal with me…

10   U/C AGENT #6134:                        //Uh-huh...

11   EVATT TAMINE:                           //But Gordon Howard, who I worked with, uhm...for a long time,

12                                           uhm...in the old days, way, way, way back in the ‘eighties (‘80’s),

13                                           uh, before- way before my time – so what I’m getting is-is all

14                                           second-hand.

15   U/C AGENT #6134:                        Uh-huh?

16   EVATT TAMINE:                           Uhm...eh, Gordon knew him back then.

17   U/C AGENT #6134:                        Okay, okay, yeah, that’s-that’s before my time too. I’m-I’m-

18                                           Carlos told me I’m prob’ly one of his youngest clients…

19   EVATT TAMINE:                           //Right, so it’s just gonna [phon.]… Yeah…

20   U/C AGENT #6134:                        //…if not the, so-so then-...and I-I’m, guh-...takin’ a guess you

21                                           prob’ly are much younger too, so, uh…



                                                                     6
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                 Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 8 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           Uhm...well I’m younger than-...I’m-I’m young-...not-not that

 2                                           young, but I’m younger than Carlos.

 3   U/C AGENT #6134:                        //(LAUGHS)

 4   EVATT TAMINE:                           //I’m-...yeah, I’ve-I’ve been-...I’ve been around in Bermuda for,

 5                                           uh, a little bit over twenty (20) years.

 6   U/C AGENT #6134:                        Oh, //awesome, okay.

 7   EVATT TAMINE:                           //I’ve been on-...I’ve-I’ve been on, so, uhm...uh, you know,

 8                                           uh...Gordon had done, I think, most of his work with Carlos way,

 9                                           way back before I even got involved.

10   U/C AGENT #6134:                        Okay, alright. So you’re-you’re sort of, and I again, I apologize –

11                                           these questions are prob’ly like, “come on, you have to…”

12   EVATT TAMINE:                           //Uh-…

13   U/C AGENT #6134:                        “…understand this,” but, uhm...you’re the trust-...‘cause I met one

14                                           of his trust guys from Belize, I think, so would you be similar to

15                                           him – the trustee, then?

16   EVATT TAMINE:                           No, //I don’t…

17   U/C AGENT #6134:                        //No?

18   EVATT TAMINE:                           I don’t know-...I don’t who in Belize, uhm – again, if I’m being-

19                                           ...if I’m being really frank about that, this doesn’t get back to

20                                           Carlos?

21   U/C AGENT #6134:                        Sure... (VOICE ECHOS)



                                                                     7
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                 Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 9 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           I’d stay away from Belize completely. It’s a jurisdiction I don’t

 2                                           like…

 3   U/C AGENT #6134:                        //Hmm… (VOICE ECHOS)

 4   EVATT TAMINE:                           //I, uhm...I-I-I think it’s, uhm...it’s a jurisdiction that-that tries to

 5                                           sell itself on helping out people do things they probably shouldn’t

 6                                           do and I-I avoid those places like the plague.

 7   U/C AGENT #6134:                        //Interesting.

 8   EVATT TAMINE:                           //Uhm...yeah-I-I don’t like Belize, the jurisdiction. Uhm...and my

 9                                           limited experience, years ago, //uhm…

10   U/C AGENT #6134:                        //(SNIFFS)

11   EVATT TAMINE:                           //…we had-...Gordon had a, uhm...a-a relationship with a Belizean,

12                                           uhm...company and, uh...it was all a little bit – I’m-I’m sorry about

13                                           the word – it’s all a little bit too sleazy for //me.

14   U/C AGENT #6134:                        //Mmm-hmm.,,

15   EVATT TAMINE:                           Uhm...the jurisdiction. [phon.]

16   U/C AGENT #6134:                        Oh, I-I appreciate //your frankness.

17   EVATT TAMINE:                           //And I think-...I think the key-...I think the key for, eh-...you

18                                           know, for anybody in the trust world, the key //is…

19   U/C AGENT #6134:                        //(SNIFFS)

20   EVATT TAMINE:                           …is transparency, integrity, and, uhm...always make sure you’re

21                                           dealing with people who do the thing-...do things the right way.

22   U/C AGENT #6134:                        //Mmm-hmm...

                                                                     8
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 10 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           //Uhm...and, yeah, don’t take shortcuts, don’t fudge things, and-

 2                                           and that’s, you know, just everything works out so much better

 3                                           when things are done properly, but Belize and-and I think Carlos-

 4                                           I’m-I’m not really… Because Carlos has never done anything with

 5                                           me that’s involved Belize, I don’t-...I can’t say that conversation’s

 6                                           come up between me and him…

 7   U/C AGENT #6134:                        Mmm-hmm...

 8   EVATT TAMINE:                           But, uhm...it’s not a jurisdiction I like.

 9   U/C AGENT #6134:                        Okay, so how do you-...so, maybe I’m not understanding the

10                                           relationship – so, you are the trustee, is that who you are?

11   EVATT TAMINE:                           Oh, I’m-I’m-I’m a trustee – the completely stand-alone trustee

12                                           person who, you know, that works with-it’s not-I’m not a-...I’m

13                                           not a trust company. I’m not-...I don’t run a trust company, I don’t

14                                           provide any outside services, I am the trustee of a very specific

15                                           trust, if you see what I mean.

16   U/C AGENT #6134:                        Okay.

17   EVATT TAMINE:                           So, I’m not-...I’m not in the same position as, uhm...you know, I

18                                           don’t operate a trust company providing services.

19   U/C AGENT #6134:                        Oh, okay, //so-…

20   EVATT TAMINE:                           //I’m not sure-...yeah, sorry, you might be getting-...uh, you might,

21                                           uh...you might’ve got the wrong impression from Carlos. So, I



                                                                     9
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 11 of 34

     DRAFT TRANSCRIPT


 1                                           don’t, uhm... I’m not a trust company operator. Uh-uhm... I-I act as

 2                                           a trustee for a-...for a specific trust.

 3   U/C AGENT #6134:                        Okay, so, say I came-...say you were gonna-...oh, so you have your

 4                                           own trust then, that you //operate.

 5   EVATT TAMINE:                           //Y-yes, yeah, //that-that’s right, okay.

 6   U/C AGENT #6134:                        //Okay, okay, and it’s all outta Bermuda?

 7   EVATT TAMINE:                           Yes.

 8   U/C AGENT #6134:                        Okay, so why do you like Bermuda, say, over other jurisdictions?

 9   EVATT TAMINE:                           Well, my wife who is Bermudian would kill me if I said //anything

10                                           else.

11   U/C AGENT #6134:                        //(LAUGHS)

12   EVATT TAMINE:                           In a nutshell, you have the answer. //(LAUGHS)

13   U/C AGENT #6134:                        //Okay.

14   EVATT TAMINE:                           If I had-...uhm... I-...uh-uh, you know, I come here t work, uhm... I

15                                           work with Bermudians – Gordon is a Bermudian. Uh, originally

16                                           English, but, uh-uh...lived here a long time, became a Bermudian,

17                                           and, uhm...because he lived here and this is where he was, this is

18                                           where the trusts that he looked after the setup. Uhm...I came in, I

19                                           worked here, I got married here, this is home, my children are all

20                                           Bermudian, and, uhm...despite my best efforts to leave Bermuda

21                                           and go live somewhere (CHUCKLES) bigger…

22   U/C AGENT #6134:                        //(CHUCKLES)

                                                                     10
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 12 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           //…and closer to Australia, uhm...like, Sydney, in Australia…

 2   U/C AGENT #6134:                        //Yes, (CHUCKLES)

 3   EVATT TAMINE:                           //And, i-i-is, uh...I’ve done-[phon.]…so it’s, eh, you know, it

 4                                           continues here because it’s where we live. Uh, //you know…

 5   U/C AGENT #6134:                        //Okay.

 6   EVATT TAMINE:                           Uh, I haven’t convinced my wife that movin’ away from Bermuda

 7                                           is a good thing yet.

 8   U/C AGENT #6134:                        Hmm, that’s alright. If-...she-she would at least stay home then or

 9                                           does she have to work also?

10   EVATT TAMINE:                           Oh, no, no, she’s-she’s mostly stay-at-home.

11   U/C AGENT #6134:                        //Okay.

12   EVATT TAMINE:                           //She does-...she does some stuff. We’ve got-...we’ve got children

13                                           from, uhm...from nineteen (19) down to four (4) years old.

14   U/C AGENT #6134:                        //Wow…whew…

15   EVATT TAMINE:                           //And, you know, Bermuda-Bermuda has, eh...for raising young

16                                           children this is a great place.

17   U/C AGENT #6134:                        //Yeah.

18   EVATT TAMINE:                           //But then they get to a certain age and now older girls have to go

19                                           to school off-island…

20   U/C AGENT #6134:                        //Hmm…

21   EVATT TAMINE:                           //…uhm...and both of our older girls, uh...went to boarding school.

22                                           Our younger girls, at some point, they have to go to boarding

                                                                     11
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 13 of 34

     DRAFT TRANSCRIPT


 1                                           school. Uhm...here- y-you know, the standards are-...it’s a-...it’s a

 2                                           nice place to be, but, uh...educational standards are pretty poor.

 3   U/C AGENT #6134:                        Mmm-hmm...

 4   EVATT TAMINE:                           So, you know, uhm...we’re in Bermuda. Bermuda’s there because,

 5                                           you know, my wife is Bermudian. That’s what-…

 6   U/C AGENT #6134:                        Uh-huh...

 7   EVATT TAMINE:                           (CHUCKELS) I wish //I-…

 8   U/C AGENT #6134:                        //Mmm-hmm...

 9   EVATT TAMINE:                           I wish I could say to you it’s because, you know, Bermuda’s a

10                                           great jurisdiction and it’s got a great court system, uhm...and it has

11                                           really great people working here, but I’m-I’m somewhat cynical

12                                           about the quality of people you come across in these places.

13   U/C AGENT #6134:                        Hmm…//interesting.

14   EVATT TAMINE:                           //And I say that in, you know, living here myself.

15   U/C AGENT #6134:                        Yeah.

16   EVATT TAMINE:                           Uhm...but-but I’m-...we’re here because my wife is Bermudian,

17                                           that’s it.

18   U/C AGENT #6134:                        Uh-huh...wow, okay, well that, //you know…

19   EVATT TAMINE:                           //And-and don’t-...again, uh...don’t get me wrong, I do like

20                                           Bermuda. //(CHUCKLES) Yeah.




                                                                     12
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 14 of 34

     DRAFT TRANSCRIPT


 1   U/C AGENT #6134:                        //Yeah, no, no, no, I understand. You wouldn’t stay there. I’m sure

 2                                           your wife’s a lovely person but if-if you don’t like it, you’re

 3                                           definitely not gonna stay there that long, so, //at least…

 4   EVATT TAMINE:                           //Yeah, it’s, like, twenty-twenty (20) square miles in the middle of,

 5                                           //uhm…

 6   U/C AGENT #6134:                        //(GASPS)

 7   EVATT TAMINE:                           …the Atlantic Ocean. Uhm...y-y-you know, when-when I grew up

 8                                           in, uh...a continent, in a-...in a-...in a country that’s the size of the

 9                                           //continental…

10   U/C AGENT #6134:                        //Yeah.

11   EVATT TAMINE:                           //…of the United States, uhm... //(CHUCKLES)

12   U/C AGENT #6134:                        //(CHUCKLES)

13   EVATT TAMINE:                           Okay, yeah, gettin’ in the car, bein’ able to drive for hours without

14                                           having to-...oh, bein’ able to drive an hour without having to turn

15                                           around and come back.

16   U/C AGENT #6134:                        //(CHUCKLES)

17   EVATT TAMINE:                           //Uh, it’ll-it’ll do things to you. [phon.]

18   U/C AGENT #6134:                        (LAUGHS) I see why you prob’ly visit the states often then, I’m

19                                           guessing, so…

20   EVATT TAMINE:                           Oh, eh-eh-eh, yeah. //(CHUCKLES)

21   U/C AGENT #6134:                        //(CHUCKLES)



                                                                     13
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 15 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           Yeah, we-...uh, yeah, I’m-I’m happy, doesn’t matter where it is,

 2                                           put me on a road that-that goes on for more than a hundred miles

 3                                           //and I’m happy.

 4   U/C AGENT #6134:                        //(LAUGHS) So would you say, I mean, that-...it’s interesting what

 5                                           you mention though about, you know, Belize and stuff. Would

 6                                           you, er-...do you feel like I should-...(SIGHS) what type of

 7                                           problems do you see that they run into //there, would you say?

 8   EVATT TAMINE:                           //I-...eh-...I don’t know. I-I-I don’t know where you’re coming

 9                                           from. I don’t know, yeah, what you’re doing, what you’re looking

10                                           to do…

11   U/C AGENT #6134:                        Sure.

12   EVATT TAMINE:                           Uhm...i-is it a-...is it a family trust, is it a-...is it a business //sort of

13                                           trust…

14   U/C AGENT #6134:                        //S-so, it’s…

15   EVATT TAMINE:                           I-…

16   U/C AGENT #6134:                        (SIGHS) I’m gonna try to explain it very briefly ‘cause I-I’ll admit,

17                                           I don’t fully understand all of it and that’s where, like, I said my

18                                           new part, but essentially, you know, I-I-I-I, you know, I’ve-...have

19                                           a decent amount of money, I’m-I’m very fortunate, work really

20                                           hard, and this-...he said as long as I have-...so, I don’t have any

21                                           foreign relatives, but I have someone that’s gonna be passing away

22                                           this year, uhm – probably, I don’t know, depending on, you never

                                                                     14
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 16 of 34

     DRAFT TRANSCRIPT


 1                                           know with their health – so th-...have them set up, uh...like, a trust.

 2                                           Does this make sense so far? And then, uhm...tsk-...when they pass

 3                                           away then I can contribute more to it and it provides you with sort

 4                                           of, like, a tax benefit to it. Does-does this sound familiar? Do you

 5                                           know what I’m talking about?

 6   EVATT TAMINE:                           It-eh-eh-uhm...no-...well-...uh-eh-uh, no, which, I’m-I’m not an

 7                                           American, so I don’t know the systems and I don’t know, Uhm...

 8                                           eh-...I can only tell you what I do, what-what I know on my side.

 9   U/C AGENT #6134:                        Sure.

10   EVATT TAMINE:                           Uhm...eh- w-w-what-...to establish a trust, to make an irrevocable

11                                           gift, in my world, okay, if-if-if something is put into a trust, if

12                                           something is, uhm..about a person who-who wants to just, you

13                                           know, not-not have the assets in their own name, it-it is a ir-

14                                           irrevocable gift, a-a-and that’s the way it, as I understand it, and-

15                                           and from my world. I don’t know what-...I don’t know how it

16                                           works in the U.S. system, but if you-...if in my world, then an asset

17                                           is put into a trust…//(UNINTELLIGIBLE)…

18   U/C AGENT #6134:                        //Do you have, uh...do you have U.S. clients though, too, also? I

19                                           thought Carlos //told me… No, oh…

20   EVATT TAMINE:                           //No, no, no, no, no, we don’t have any, //yeah.

21   U/C AGENT #6134:                        //Oh, okay.

22   EVATT TAMINE:                           No.

                                                                     15
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 17 of 34

     DRAFT TRANSCRIPT


 1   U/C AGENT #6134:                        //Go ahead, huh…

 2   EVATT TAMINE:                           //Yeah, and-and so what-...and so-so, in our world when-when

 3                                           assets come to the trust, as an independent trustee, that trustee has

 4                                           to-...uh-uhm...in-...someone in my position, uhm...you control the

 5                                           assets. You-you-you deal with them. We-uh-uh-...you-you

 6                                           would’ve seen recently that, eh...you know, there was a-huh-a-a

 7                                           leak at one of the law firms here in Bermuda had a whole lot of

 8                                           documentation leaked and, i-i-it really did surprise me the number

 9                                           of, uhm...trusts, but we don’t live in the world of-of, uh...you

10                                           know, licensed trust companies. But, uhm...licensed trust

11                                           companies will provide-...I guess would provide some sort of

12                                           service to you with how they’ll follow your instructions, they’ll-

13                                           they’ll, you know, act as if there’s a-a-a-a real trust in the

14                                           (UNINTELLIGIBLE)…you know…

15   U/C AGENT #6134:                        //Uh-…

16   EVATT TAMINE:                           //…at your discretion. Uhm...I-I-...uh, y-you know, uh-uh, I was

17                                           surprised when that happened-...happens, but, you can do-...uh,

18                                           people do things – not surprised – but they’re not done-...that’s not

19                                           the right way of doing them. So, uhm...if-...uh...you just gotta-

20                                           ...you just always-… Put it this way, people need to sleep at night.

21                                           People need to sleep at night…

22   U/C AGENT #6134:                        //Uh-huh...

                                                                     16
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 18 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           //…and if you-...if trusts are created as a way of hiding assets or-

 2                                           or-or putting beyond the reach of others then, you know,

 3                                           sometimes you don’t sleep at night.

 4   U/C AGENT #6134:                        //Mmm-hmm...

 5   EVATT TAMINE:                           //You’re worried about-...you’re always worried about, you know,

 6                                           who’s looking at it and I think, uhm… If- I don’t know what

 7                                           Carlos is suggesting. I don’t know how that setup would work, but,

 8                                           uhm...you-...if you nee-...it’s probably best to take tax planning

 9                                           from, eh-...and then Carlos is-...Carlos is good don’t-eh-...I mean,

10                                           in my understanding…

11   (ELECTRONIC CHIMING SOUND)

12   EVATT TAMINE:                           …he’s quite good. But-but just when it comes to the tax planning

13                                           side, make sure that you understand all the rules and the

14                                           regulations and if you do things the right way, uhm...uh, y-you

15                                           know, y-you-you-you-...it’s not-...you can sleep at night.

16   U/C AGENT #6134:                        So does-...so does he not-...maybe-maybe I am misunderstanding. I

17                                           thought he still worked with you now. You’re saying he doesn’t

18                                           work with you? Like, you guys don’t have mutual clients or

19                                           whatever?

20   EVATT TAMINE:                           Uhm...no, no, not-...no, we don’t-...we have no mutual clients…

21   U/C AGENT #6134:                        ..Oh...

22   EVATT TAMINE:                           //…that I’m aware of.

                                                                     17
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 19 of 34

     DRAFT TRANSCRIPT


 1   U/C AGENT #6134:                        //Okay.

 2   EVATT TAMINE:                           //Uhm...we know people. We do both know-...we both know

 3                                           people. I mean, I, you know, he’s been around for a long time but,

 4                                           uh...you know, Carlos really hasn’t done anything, Uhm...on my

 5                                           side for quite a long time.

 6   U/C AGENT #6134:                        Oh, okay, alright //then, so-…

 7   EVATT TAMINE:                           //Yeah, I-I-I don’t wanna-...I don’t-...uh, you know, I know Carlos

 8                                           said to me that you wanna talk to me to get-I-I thought was to get,

 9                                           you know, some background on Carlos and, but, uhm…

10                                           //(UNINTELLIGIBLE)…

11   U/C AGENT #6134:                        //That-that is the main thing. No, definitely, I mean…

12   EVATT TAMINE:                           //Yeah.

13   U/C AGENT #6134:                        //…that was the main point but it sounds like you guys really don’t

14                                           do business anymore together.

15   EVATT TAMINE:                           We-...not-not really, no. No…

16   U/C AGENT #6134:                        //Okay.

17   EVATT TAMINE:                           //I pay him-...I-I pay Carlos an annual r-retainer, but, there really

18                                           isn’t a great deal. In fact, it’s next to nothing that I give him on an

19                                           annual basis and in whole-...in the whole of the time I’ve been in

20                                           charge, uhm...which pretty much-...which is since two-thousand-

21                                           August of two-thousand-ten (2010), there’s very little-...there’s

22                                           very little, if anything, that-that I’ve done with Carlos – maybe

                                                                     18
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 20 of 34

     DRAFT TRANSCRIPT


 1                                           before then, uhm...most-most of the work Gordon had done had

 2                                           already been well and truly established years and years ago and,

 3                                           uhm...I-...you know, I don’t, uh...we didn’t do a lot with Carlos

 4                                           through, you know, my-my involvement got pretty, uhm...heavy in

 5                                           this in about-...in what I’m doing now, in about two-thousand and

 6                                           two (2002).

 7   U/C AGENT #6134:                        Okay.

 8   EVATT TAMINE:                           Uhm...and, uhm...and maybe a little bit before then. Uhm...a little

 9                                           bit before then in-in another context, but, uhm...not a lot with

10                                           Carlos.

11   U/C AGENT #6134:                        Hmm, okay, that was, uh...yeah, I figured that’s why he gave me

12                                           your name was ‘cause you guys dealt pretty extensively //on-on…

13   EVATT TAMINE:                           //I know-...I-I know him. I know him and I stay in touch with him

14                                           and he’s a good guy and he’s clearly, uhm...experienced, but,

15                                           uhm...when it comes to-...when it comes to the work side of it and,

16                                           uh...yeah, there’s not-...eh-...it’s been-...it’s been-...a-a-all the work

17                                           that would’ve been done with Carlos would’ve been done many,

18                                           many years ago and, uhm...tsk-...you know, I-I tend not-...I-I just

19                                           don’t use him for too much. Not because-...not because I don’t

20                                           want to, it’s just because there’s no work for him to do.

21   U/C AGENT #6134:                        M’kay, and then he doesn’t use you, I guess. Right, is that what

22                                           you’re saying?

                                                                     19
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 21 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           Oh no, no…

 2   U/C AGENT #6134:                        //No? Okay

 3   EVATT TAMINE:                           //…no, no, I don’t-...‘cause I don’t do that sort of work. I don’t do

 4                                           any-...I don’t do outside work.

 5   U/C AGENT #6134:                        Okay, what-what does outside work mean?

 6   EVATT TAMINE:                           Uhm... I’m not a licensed trust company so I don’t, you know, we

 7                                           have trust companies that offer services and the trustee. I don’t do

 8                                           that sort of work. I don’t do-...I don’t-...uh-...I don’t offer-...I’m-...I

 9                                           don’t offer serv-...trustee services, uhm...for payment.

10   U/C AGENT #6134:                        Oh…well, (SIGHS) wow, sorry, this is just, like, has my head

11                                           spinnin’. So, trustee-...but I thought you have a trust, right?

12   EVATT TAMINE:                           Okay, so-so, in-in Bermuda there is two (2) ways-...there’s-there’s

13                                           licensed trust companies. They-they’re-they’re like law firms.

14   U/C AGENT #6134:                        //Okay.

15   EVATT TAMINE:                           //And you-...if you need a trustee, if you need, uhm-uh-uh,

16                                           someone that you want to appoint to the trust, then that’s the

17                                           service they provide.

18   U/C AGENT #6134:                        //Mmm-hmm...

19   EVATT TAMINE:                           //They-they take on the role, they settle a fee, an annual fee, or-or

20                                           whatever their fee structure is. They’ll set fees…

21   U/C AGENT #6134:                        (SNIFFS)



                                                                     20
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 22 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           …and, uhm they’re licensed to do that in-in Bermuda’s case by the

 2                                           Ministry of Finance, the Bermuda Ministry [phon.] Authority,

 3                                           uhm... they’re kind of connected. So they-they-they issue licenses

 4                                           to certain people to carry on the business of offering trust services.

 5                                           Uhm...and then there are others who, uhm-...uh, just, uh...apply to

 6                                           trust companies who-who are, uhm...given permission to act as a

 7                                           trustee for a specific trust. Uhm...they can’t offer their services to

 8                                           the outside world, they can’t advertise. They do nothing. They-they

 9                                           just, uh...you know, they-they don’t sell their services, uhm...to-to

10                                           third (3rd) parties. Uhm...I’m in that class. I’m…

11   U/C AGENT #6134:                        //Oh...

12   EVATT TAMINE:                           //…I’m-...I run a private trust company and I have permission or

13                                           my trust company has permission from the Bermuda Ministry

14                                           [phon.] Authority to act as a trustee to the specific trust.

15   U/C AGENT #6134:                        //Okay.

16   EVATT TAMINE:                           //So, uhm...I don’t provide services to outsiders. I don’t-...I don’t

17                                           provide services to third (3rd) parties, uhm-...eh-...uh, for the

18                                           payment of fees.

19   U/C AGENT #6134:                        So-so you just have, like, it’s-...you mean you j-...when you say a

20                                           private trust, eh...like, just one (1)-...you have, like, one (1) client

21                                           then, when you say //s-…



                                                                     21
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 23 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           //That-...there’s one (1) trust. It’s one (1) trust. It’s an old trust that

 2                                           was //established…

 3   U/C AGENT #6134:                        //Oh…

 4   EVATT TAMINE:                           …almost forty (40) years ago.

 5   U/C AGENT #6134:                        //Wow...

 6   EVATT TAMINE:                           //The man who set the trust up, died thirty (30)-something years

 7                                           ago, thirty-one (31), thirty-two (32)…

 8   U/C AGENT #6134:                        //(WHISTLES) Wow…

 9   EVATT TAMINE:                           //…years ago. Way-way before my time. So-so, that’s it. That’s a-

10                                           it’s a trust that was created by someone who passed away many,

11                                           many years ago and, uhm... and, uhm... I now fill in the role in-...

12                                           to, uh, a-a-uh, a private company, I fill the role as trustee.

13   U/C AGENT #6134:                        Gotcha now, okay. Now, I apologize. Now I’m understanding,

14                                           //so- s-… (SIGHS)

15   EVATT TAMINE:                           //No, no, no, no problem. No problem. I-I-I just wasn’t sure what

16                                           you have been told and, //uhm…

17   U/C AGENT #6134:                        //Yeah, n-n-really nothing. I just assumed, ‘cause he gave me a

18                                           couple people to call and everybody sort of fit the role of, you

19                                           know, he gave me an a-...an attorney, Uhm...tsk-uhm...do you

20                                           know Alan who may take over his business one day?

21   EVATT TAMINE:                           Uhm...I- eh- I-I’ve heard- there’s an Alan Keller…

22   U/C AGENT #6134:                        //Yes.

                                                                     22
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 24 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           //I’ve seen (UNINTELLIGIBLE)…yeah, but I’ve never dealt with

 2                                           him.

 3   U/C AGENT #6134:                        That’s him. //Very pleasant man.

 4   EVATT TAMINE:                           //Yeah, I’ve heard-...yeah, I’ve never...eh, never met him or-or

 5                                           dealt with him.

 6   U/C AGENT #6134:                        So I spoke with him, obviously, before you and he was, you know,

 7                                           very similar kind of work as Carlos does so I assumed you’d be

 8                                           very similar to either Carlos or the other trustee person. So, alright,

 9                                           so now I see you’re kind of, like, a little bit different. I-I-I guess

10                                           that-that-...so then…yeah, I-...that-that’s interesting. I mean, th-the

11                                           funny thing about Carlos though, I don’t know if you’ve

12                                           experienced this, you send-...him-that man an e-mail, he is the

13                                           quickest person I’ve ever seen to respond to e-mails and he’s an

14                                           older gentleman too, which is amazing. Uhm... (INHALES

15                                           SHARPLY) I don’t know if you-you talk with him much through

16                                           e-mail, but he is so fast.

17   EVATT TAMINE:                           Yeah, I mean, if-if you-...eh-...if you can provide that service,

18                                           Uhm...i-it’s-...uh, you’re in-...you’re in with-...yeah, the price

19                                           [phon.] of lawyers and in the service industry.

20   U/C AGENT #6134:                        Yes.

21   EVATT TAMINE:                           Uhm...the number of times I deal with lawyers are nothing-...I find

22                                           nothing more infuriating whether it’s lawyers or whether it’s

                                                                     23
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 25 of 34

     DRAFT TRANSCRIPT


 1                                           bank’s accountants. I find nothing more infuriating than when you

 2                                           get charged high fees, Uhm...on an hourly basis, you’re, uhm...

 3                                           you’re waiting three (3) days for a response.

 4   U/C AGENT #6134:                        Yeah, no, it’s-it’s //so true. You do not experience…

 5   EVATT TAMINE:                           //Uhm...no, no…

 6   U/C AGENT #6134:                        …that with Carlos though. That is //not…

 7   EVATT TAMINE:                           //Yeah, yeah, it-it- you know, when you’re dealing with-...you’re

 8                                           dealing with professionals, I, you know, I like quick responses,

 9                                           even…

10   U/C AGENT #6134:                        //Yes.

11   EVATT TAMINE:                           //…even if the response is a very, you know, quick, “sorry, don’t

12                                           have time but I will look at this.” At least you know someone’s

13                                           payin’ attention to it.

14   U/C AGENT #6134:                        Yes.

15   EVATT TAMINE:                           So, yeah, I guess he-he’s following the practice of, uhm...what a

16                                           good professional should. Uhm...huh, my-my-my wife and I were

17                                           talking about an example we were told at dinner last night of a,

18                                           lawyer in Bermuda, who sent a lady a letter, but they’d sent it to

19                                           the wrong person.

20   U/C AGENT #6134:                        //(CHUCKLES)

21   EVATT TAMINE:                           //Uhm...or sent it from a-...from a different file to the wrong client.

22   U/C AGENT #6134:                        Oh...

                                                                     24
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 26 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           So, she contacted him and said, uhm... “you-you-you sent the

 2                                           wrong-...you sent it to me. You sent it by mistake. I shouldn’t have

 3                                           got this.” So, they thanked her. And then when she got her bill a

 4                                           few-...a month later, she found that the time for taking her phone

 5                                           call to tell her-...to tell her-...the lawyer that he’d a mistake, and he

 6                                           timed to review the letter she talked about and then send it to the

 7                                           right person were all time charges on her file.

 8   U/C AGENT #6134:                        No.

 9   EVATT TAMINE:                           (CHUCKLES)

10   U/C AGENT #6134:                        //(CHUCKLES)

11   EVATT TAMINE:                           //So, yeah, I’m-I’m sensitive to-to dealing with lawyers.

12                                           //(CHUCKLES)

13   U/C AGENT #6134:                        //(LAUGHS) I love that joke and I’m glad you appreciate this,

14                                           you’ve had //the same experience with-… (LAUGHS)

15   EVATT TAMINE:                           //Oh, it wasn’t a joke-...that wasn’t a joke. But sadly...sadly, it was

16                                           a true story.

17   U/C AGENT #6134:                        Oh my goodness, that is horrible. Well, I’m glad you’ve

18                                           experienced the same with Carlos and you try to practice the same

19                                           //type of thing.

20   EVATT TAMINE:                           //Yeah, I-I-just don’t do-and I-I just don’t do, uhm...much with

21                                           Carlos, so…

22   U/C AGENT #6134:                        //Okay.

                                                                     25
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 27 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           //…I-I-...eh, but-but he...but he does-...he, uh-uh…you know,

 2                                           Carlos is a pretty focused, hardworking guy from what I’ve seen,

 3                                           uhm...as far as I can tell. Uhm...the-the only word that – I’m sorry

 4                                           to say, but do y-...again, can this stay strictly between us…

 5   U/C AGENT #6134:                        //Please.

 6   EVATT TAMINE:                           //The only word of caution I’d-...I’m-...I’d urge on you is-is when

 7                                           you’re dealing with, uhm...with people who aren’t subject to good

 8                                           regulation, tsk-...whether it’s laws in //America…

 9   U/C AGENT #6134:                        //(SNIFFS)

10   EVATT TAMINE:                           … or, uhm...well, the-...uh-...you know, when you-...when you-

11                                           when you’re dealing with people who aren’t like lawyers in

12                                           America or-or lawyers in Bermuda or other places where you’ve

13                                           got good regulation, uhm...always be wary. And I…

14   U/C AGENT #6134:                        Hmm…

15   EVATT TAMINE:                           And I think that Belize is one of those jurisdictions.

16   U/C AGENT #6134:                        ‘Kay, no that’s-...you don’t know how much I appreciate that and

17                                           believe me, it’ll stay between you and I because you don’t find

18                                           people that are willing to worry about folks who they don’t, you

19                                           know, they don’t know, quite frankly, and you-you //takin’ the

20                                           time…

21   EVATT TAMINE:                           //Uh, yeah.



                                                                     26
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 28 of 34

     DRAFT TRANSCRIPT


 1   U/C AGENT #6134:                        …to tell me that, that-that means a lot to me. That tells me of

 2                                           //your…

 3   EVATT TAMINE:                           //Yeah.

 4   U/C AGENT #6134:                        …ethical standard. I mean, there’s no question, so…

 5   EVATT TAMINE:                           //Well, you-you-you-you’ve-you’ve got to. You’ve got to. Our

 6                                           world is under so much pressure these days bec-...uhm...just for

 7                                           whatever different reasons, so it’s always best to do everything a-

 8                                           as-...the right way. And, uhm...oftentimes it’s lazy when-when

 9                                           people do things in a sloppy way, they go to jurisdictions that will-

10                                           will-will ignore the rules and…

11   U/C AGENT #6134:                        Mmm-hmm...

12   EVATT TAMINE:                           It’s just-...it’s just best to deal with people who know what they’re

13                                           doing and, uhm...it’s easy in-in jurisdictions like Belize to, uhm...

14                                           Panama’s another one – I’m-I’m disparaging these places.

15   U/C AGENT #6134:                        Yeah.

16   EVATT TAMINE:                           Uhm...and it’s easy to get fall-...to fall in their little traps that they

17                                           offer an easy service without too much scrutiny and that’s always a

18                                           bad thing. You want-...what you want are people that do things the

19                                           right way.

20   U/C AGENT #6134:                        Oh, I-I agree with you. I mean, it’s-...you-you have to have that

21                                           and it’s-it’s sad that people don’t fall-...I mean, if you, (SIGHS)

22                                           you know, th-the scariest part is if you don’t you could run into

                                                                     27
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 29 of 34

     DRAFT TRANSCRIPT


 1                                           trouble with the authorities, you can run into trouble with, uh...the

 2                                           IRS. I mean, eh-eh…

 3   EVATT TAMINE:                           Absolutely.

 4   U/C AGENT #6134:                        //Eh-…

 5   EVATT TAMINE:                           //Absolutely, and that’s what I mean. That’s what I mean. You

 6                                           wanna…

 7   U/C AGENT #6134:                        //Yeah.

 8   EVATT TAMINE:                           //…be able to sleep at night. You wanna…

 9   U/C AGENT #6134:                        //You do.

10   EVATT TAMINE:                           //…be able to do all your tax returns…

11   U/C AGENT #6134:                        Yes.

12   EVATT TAMINE:                           Uhm...and know that-that, you know, e-everybody’s capable of

13                                           being subjected to an audit. Uhm...and you wanna be able to go

14                                           into that audit and just know there’s no problems.

15   U/C AGENT #6134:                        Yeah, I mean, have you fa-...have you had any-...if you don’t, I

16                                           mean, just from your experience and you seem like you’re so,

17                                           (SIGHS) you’ve done this so long, have you had any issues with

18                                           your, (SIGHS) you know, with your clients or anything like that

19                                           with those types of folks?

20   EVATT TAMINE:                           No, //because-…

21   U/C AGENT #6134:                        //Oh.



                                                                     28
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 30 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           …‘cause we-...Gordon before me, we-we’re-we

 2                                           (UNINTELLIGIBLE) with-with a very simple role. Uhm...you-

 3                                           you-...we-we do…

 4   U/C AGENT #6134:                        (SNIFFS)

 5   EVATT TAMINE:                           We take the time to get the compliance right. We take…

 6   U/C AGENT #6134:                        //Uh-huh...

 7   EVATT TAMINE:                           //…the time to-...if you’re gonna put //money into anything then

 8                                           put the money…

 9   U/C AGENT #6134:                        //(SNIFFS)

10   EVATT TAMINE:                           …into gettin’ it right.

11   U/C AGENT #6134:                        Yeah.

12   EVATT TAMINE:                           So, uhm...you know, we-we keep all of our documentation, we,

13                                           //uhm…

14   U/C AGENT #6134:                        //(SNIFFS)

15   EVATT TAMINE:                           We don’t b-because we’re, uh...we’re a very small organization we

16                                           don’t need to worry about, you know, where the money comes

17                                           from. So we know where it comes from. It comes from

18                                           investments, //we know?

19   U/C AGENT #6134:                        //Mmm-hmm...

20   EVATT TAMINE:                           No, I don’t take money from outside parties. I don’t take money

21                                           from unknown people. Uhm...we don’t take money from anybody,

22                                           really. So whenever-...whenever, you know, I’m wittingly going

                                                                     29
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 31 of 34

     DRAFT TRANSCRIPT


 1                                           into relationships with, you know, a South African arms dealer,

 2                                           //or-or-or Iraqi terrorists, you don’t…

 3   U/C AGENT #6134:                        //(CHUCKLES) Yes.

 4   EVATT TAMINE:                           You don’t mix in-...we don’t mix with that //sort of world. So I

 5                                           think…

 6   U/C AGENT #6134:                        //(SNIFFS)

 7   EVATT TAMINE:                           //Eh, I think the…

 8   U/C AGENT #6134:                        //(SNIFFS)

 9   EVATT TAMINE:                           //…the key to it all is-is you stay-...if you do end up-...and I don’t

10                                           know the first thing about the American system when it comes to

11                                           trusts – but if you go down into the world of-of trusts, and I know

12                                           Americans who do, //uhm…

13   U/C AGENT #6134:                        //(SNIFFS)

14   EVATT TAMINE:                           //…you know, domestic trusts and-and-and foreign trusts – it’s just

15                                           make sure you get your compliance absolutely right.

16   U/C AGENT #6134:                        //Mmm-hmm...

17   EVATT TAMINE:                           //Uhm...you know, do all your record keeping the right //way.

18   U/C AGENT #6134:                        //(SNIFFS)

19   EVATT TAMINE:                           Uhm...do what-...you know, make-make sure the decision making

20                                           is made the right way and, uhm...and, uhm...you know, do it

21                                           properly. That’s-...th-that’s been the key for us for a long time.



                                                                     30
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 32 of 34

     DRAFT TRANSCRIPT


 1   U/C AGENT #6134:                        No, y-y-you’re so right, and like you just said, you know, you’re a

 2                                           small shop, and-and Carlos is too, you know, and some of the other

 3                                           folks I’ve talk with, you know, y-you’re-now I don’t know if you

 4                                           have the luxury of working out of your house or not, like he does.

 5                                           Do you-...do you get that or do you actually have an office?

 6   EVATT TAMINE:                           Oh, I-I have an //office and actually I’m lazy. [phon.] I’m-I’m lazy.

 7                                           I far prefer working from home if I can, but I have a live-in [phon.]

 8                                           office.

 9   U/C AGENT #6134:                        (CHUCKLES) See, and that’s-...you know, like you said, y-you’re

10                                           able to keep all those records there, you know, at the office. You’re

11                                           able to just have it. It’s a small-...a small shop and that’s nice to

12                                           have and, you know, I’m the same way. I’m a small, quote-

13                                           unquote, business owner in the U.S., I’m not an arms trafficker,

14                                           believe me. Uhm... //(CHUCKLES)

15   EVATT TAMINE:                           //Well-…

16   U/C AGENT #6134:                        Unless-unless nightclubs and those types of places are-are running

17                                           guns through them, which we’re not. Uhm...and it is, I mean, it’s-

18                                           you wanna be able to sleep at night and understand those things

19                                           and know that it-it’s okay, you know, and that what you’re doing

20                                           is-is-is alright. I mean, it’s-it’s not //easy to do.

21   EVATT TAMINE:                           //Yes, a-ab-...yeah.

22   U/C AGENT #6134:                        //Huh...

                                                                     31
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 33 of 34

     DRAFT TRANSCRIPT


 1   EVATT TAMINE:                           //That-...and that’s-that’s the key. That’s key, and-and-and-and-and

 2                                           staying on top…staying on top of it, uhm...all-all the time. Uhm...I

 3                                           know that there are a whole bunch of IRS forms that need to be

 4                                           filed if you have trusts.

 5   U/C AGENT #6134:                        //Hmm…

 6   EVATT TAMINE:                           //Make sure you get all of those in…

 7   U/C AGENT #6134:                        ‘Kay.

 8   EVATT TAMINE:                           Uhm... //you know, (UNINTELLIGIBLE)…

 9   U/C AGENT #6134:                        //Do you deal with any of that stuff ever or…

10   EVATT TAMINE:                           Uhm...no, no, I-I-whenever we do have anything like that I have

11                                           American lawyers in Washington who deal with that for me…

12   U/C AGENT #6134:                        //Okay.

13   EVATT TAMINE:                           //Give me-...and give me direction. It-it’s things like that. It’s just,

14                                           you know, there-there are-...there are rules. Get-get your forms

15                                           done accurately, uhm-uhm...make sure they’ve all gone in on time,

16                                           Uhm...keep all your records – it’s-...there’s-there’s a- there’s a-

17                                           uhm...there’s an obligation that comes with structuring your affairs

18                                           in the way, and it-...you know, the keys are be honest, be

19                                           transparent, and make sure you do all the documentation you’re

20                                           supposed to do. Uhm...can you-...so, I’m gonna have to //grab this

21                                           call.



                                                                     32
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
                Case 3:21-cr-00155-JD Document 95-7 Filed 10/07/22 Page 34 of 34

     DRAFT TRANSCRIPT


 1   U/C AGENT #6134:                        //No, it’s alright. At some point I’d love to meet you at some point

 2                                           hopefully and, uh...you take care. Thank you so much.

 3   EVATT TAMINE:                           So, thank-thank-thanks. No problem. //Okay, bye-bye.

 4   U/C AGENT #6134:                        //Take care, bye.

 5   (CALL ENDS)

 6   U/C AGENT #6134:                        Just finished a telephone call with Evatt Tamine. Again, February

 7                                           fifteenth (15th), two-thousand-eighteen (2018). He telephoned me

 8                                           from four-four-one, nine- two-nine-five, zero-nine-eight-five (441-

 9                                           295-0985).

10   (END AUDIO DISK 1 - 180215_0133)

11   (END OF RECORDING)

12   (END OF TRANSMISSION)




                                                                     33
     Case No.: #1000283530
     Date:    February 15, 2018 @ Time Unknown
     Name: EVATT TAMINE re: CARLOS KEPKE
     Matter: CD Audio Recording 180215_0133.MP3 – Draft Transcript
